                            Case 22-56501-pmb             Doc 239-1
                                                              264-1 Filed 02/03/23
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                                                     Curepoint Cancer Center
                                                     Dublin, GA
                                                     Month at a Glance
                                                     December 2022



                               Twelve Month Trends                                                                  Month End Statistics
                                                                                                    Net Charges                       $      237,727.56
$500,000.00
                                                                                                    Net Collections                   $      306,263.86
$450,000.00
                                                                                                    Days in A/R (DSO)                                 28
$400,000.00                                                                                         Net Collections Percent                        129%
$350,000.00                                                                                         Accounts Receivable               $      309,028.93
$300,000.00                                                                                         A/R Over 90 Days                  $       87,972.83
$250,000.00
$200,000.00                                                                                                      Payer and Utilization Mix
$150,000.00
$100,000.00                                                                                         Number of New Starts                              5
 $50,000.00                                                                                         Average Daily Treatments                         18
                                                                                                    IMRT Utilization                                80%
      $0.00
              Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 Jul-22 Aug-22 Sep-22 Oct-22 Nov-22 Dec-22   Medicare Percentage                             60%


                                       Net Charges    Net Collections
                                            Case 22-56501-pmb                              Doc 239-1
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                                    Curepoint Cancer Center
                                    C
                                    D
                                    Dublin, GA
                                    SSummary & Key Performance Indicators
                                     December 2022
                                     D


                                                                                                                                                                                                                                       Average 12       Average         YTD Total
                                           Jan-22          Feb-22         Mar-22           Apr-22         May-22           Jun-22           Jul-22        Aug-22           Sep-22          Oct-22         Nov-22           Dec-22        months          2021             2022
Charges
Number of Daily Treatments                      362             341              408            341             374             440             287             395             408             469              408             313              379             348             4546
Gross Charges                          $1,657,652.00   $1,501,842.00   $1,895,506.00   $1,499,506.00   $1,781,060.00   $1,790,326.00   $1,365,382.00   $1,783,865.00   $1,798,458.00   $2,004,070.00   $1,659,612.00   $1,234,275.00    $1,664,296.17   $1,626,800.17   $19,971,554.00
Adjustments                            $1,239,928.87   $1,198,230.11   $1,526,083.46   $1,195,088.24   $1,430,626.30   $1,413,949.39   $1,186,805.93   $1,417,185.59   $1,413,603.77   $1,606,206.84   $1,296,459.69     $996,547.44    $1,326,726.30   $1,324,488.17   $15,920,715.63
Net Charges                              $417,723.13     $303,611.89     $369,422.54     $304,417.76    $350,433.70     $376,376.61     $178,576.07     $366,679.41     $384,854.23     $397,863.16      $363,152.31    $237,727.56       $337,569.86     $302,312.00    $4,050,838.37
Collections
Payments                                $310,682.11     $296,265.77     $370,439.09     $290,518.60     $278,751.86     $263,320.71     $297,893.95     $334,592.96     $435,531.80     $445,369.54     $378,158.49     $306,263.86      $327,422.03     $311,622.52     $4,007,788.74
Refunds                                       $0.00           $0.00           $0.00           $0.00       $1,066.77           $0.00           $0.00        $360.92            $0.00           $0.00        $405.61            $0.00         $152.78         $425.98          $1,833.30
Net Collections                         $310,682.11     $296,265.77     $370,439.09     $290,518.60     $277,685.09     $263,320.71     $297,893.95     $334,232.04     $435,531.80     $445,369.54     $377,752.88     $306,263.86      $327,269.26     $311,196.54     $4,005,955.44
Write Offs
Bad Debt                                  $3,700.05       $6,424.60      $26,080.00       $5,662.79       $9,860.63         $622.29      $12,748.47       $7,167.81      $12,448.60         $586.09       $5,670.66      $14,269.20        $8,770.10       $9,289.51      $105,241.19
Total Write-Offs                          $3,700.05       $6,424.60      $26,080.00       $5,662.79       $9,860.63         $622.29      $12,748.47       $7,167.81      $12,448.60         $586.09       $5,670.66      $14,269.20        $8,770.10       $9,289.51      $105,241.19
Key Performance Indicators
Gross Collections %                             19%            20%              20%            19%             16%             15%              22%            19%              24%            22%              23%            25%               20%            19%               20%
Net Collections %                               74%            98%            100%             95%             79%             70%            167%             91%            113%            112%            104%            129%               97%           103%               99%
Bad Debt % Gross                                 0%              0%              1%             0%              1%              0%               1%             0%               1%             0%               0%             1%                1%             1%                1%
12 Months Bad Debt %                             2%              2%              2%             2%              2%              2%               2%             2%               3%             2%               2%             3%                3%             3%                3%
Charges/Procedure                         $4,579.15       $4,404.23       $4,645.85       $4,397.38       $4,762.19       $4,068.92       $4,757.43       $4,516.11       $4,407.99       $4,273.07       $4,067.68       $3,943.37        $4,393.21       $4,679.20         $4,393.21
Payments/Procedure                          $858.24        $868.81         $907.94         $851.96         $745.33         $598.46        $1,037.96        $847.07        $1,067.48        $949.62         $926.86         $978.48          $864.29         $896.33           $881.61
Days in A/R                                      48              43              37              42              45              55              50              51              45              32              31              28               42              46
Total Work RVU                                 1004             894            1122            825            1154             990              877            965             1232           1384             1171            861             1,040            961             12478
Net Charges/Work RVU                        $416.10        $339.72         $329.38         $369.10         $303.71         $380.23          $203.62        $380.02          $312.38        $287.47         $310.12         $276.11          $324.65         $314.43           $324.65
Payments/Work RVU                              $309           $331             $330           $352            $241            $266             $340           $346             $354           $322             $323           $356              $315           $324              $321
Accounts Receivable
0-30 days                               $244,093.78     $208,232.22     $225,538.96     $203,983.88     $240,844.65     $317,378.52     $142,695.44     $264,635.88     $258,752.35     $224,842.64     $182,702.17     $150,893.91      $222,049.53     $176,073.06
                                               52%             44%             51%             45%             47%             50%             29%             51%             56%             55%             47%             49%              48%             37%
31-60 days                               $27,296.31      $70,318.19      $35,584.96      $70,167.10      $59,787.28     $111,917.32     $136,835.88      $53,965.99      $88,168.21      $44,878.58      $50,351.11      $28,306.52       $64,798.12      $49,361.85
                                                6%             15%              8%             15%             12%             18%             27%             10%             19%             11%             13%              9%              14%             10%
61-90 days                               $16,799.04      $20,186.63      $38,529.49      $23,752.18      $61,790.92      $31,295.34      $55,898.08      $65,714.38      $26,993.16      $44,172.80      $31,743.19      $41,855.67       $38,227.57      $29,035.32
                                                4%              4%              9%              5%             12%              5%             11%             13%              6%             11%              8%             14%               8%              6%
91-120 days                              $12,139.70      $10,696.23      $22,940.46      $32,354.59      $30,663.66      $48,150.74      $25,958.61      $24,099.98      $15,938.66      $20,909.98      $37,056.22      $28,420.73       $25,777.46      $21,029.61
                                                3%              2%              5%              7%              6%              8%              5%              5%              3%              5%              9%              9%               6%              5%
Over 120 days                           $172,399.33     $164,216.41     $123,959.26     $124,531.75     $124,590.97     $121,369.17     $136,656.73     $114,908.07      $70,345.75      $77,301.66      $89,981.74      $59,552.10      $114,984.41     $193,387.42
                                               36%             35%             28%             27%             24%             19%             27%             22%             15%             19%             23%             19%              25%             42%
Total A/R                               $472,728.16     $473,649.68     $446,553.13     $454,789.50     $517,677.48     $630,111.09     $498,044.74     $523,324.30     $460,198.13     $412,105.66     $391,834.43     $309,028.93      $465,837.10     $468,887.26
Patient Balances
Patient Aging (direct & self pay)        $91,764.74     $103,394.58      $93,427.58      $89,148.61      $91,183.29      $81,269.03      $92,350.53      $64,706.93      $91,771.96      $99,967.21      $87,698.68      $49,434.90       $86,343.17      $56,719.09
% of EOM Aging                                  19%             22%             21%             20%             18%             13%             19%             12%             20%             24%             22%             16%              19%            12%
Patient bal > 90                         $43,080.18      $60,922.32      $47,248.66      $63,641.72      $59,816.75      $64,146.11      $75,482.28      $48,185.90      $66,360.33      $69,143.26      $59,079.49      $25,445.77       $56,879.40      $34,397.79
% of amt > 90                                   23%             35%             32%             41%             39%             38%             46%             35%             77%             70%             47%             29%              40%            16%
Patient Collections                       $7,154.66      $12,528.25       $8,375.12      $11,946.05       $3,159.29       $6,405.69       $2,545.70       $8,304.97       $1,038.58       $3,695.00       $4,061.88       $6,399.46        $6,301.22       $4,627.42       $75,614.65
% of Total Collections                         2.3%            4.2%            2.3%            4.1%            1.1%            2.4%            0.9%            2.5%            0.2%            0.8%            1.1%            2.1%             1.9%             1%               2%
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                                                       04/06/23 Entered 02/03/23
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                                                                                                                              Oct-22
                                             Jan-22




                                                                                          Jun-22
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                                                                                                   Jul-22




                                                                                                                                                Dec-2
                                                                        Apr-2




                                                                                                                     Sep-2
                                                      Feb-2
 CPT Description
 77014    CT Imaging                           343     307      411 267           371      415        274    388       396      455 373             261
 77261    Clinical Tx Plan: S                    0       0        0    0            0        0          0      0         0        0    0              0
 77262    Clinical Tx Plan: I                    0       0        0    0            0        0          0      0         0        0    0              0
 77263    Clinical Tx Plan: C                   12      15       19   15           21       14         16     13        17       19   11              8
 77280    Simulation: S                         20      18       19   19           18       23         15      4         7       25   17             11
 77290    Simulation: C                         17      18       21   15           25       19         19      5         4       22   13              9
 77293   Resp Motion Mgmt                        0       0        0    0            0        0          0      0         0        0    0              0
 77295    Simulation 3D                          6       4        8   12            9        5          2      5         5        2    3              2
 77300    Basic Dosimetry Calc                 181     107      138 103           142      100        107    131       140      133 100              50
 77301    IMRT Planning                          9       7        8    4           13        7         11     10        12       13    8              6
 77306   Isodose Plan: I                         0       0        0    0            0        0          0      0         0        0    0              0
 77307   Isodose Plan: C                         0       0        0    0            0        0          0      0         0        0    0              0
 77321    Special Therapy Plan                   5       2        1    0            2        5          3      1         0        2    1              1
 77331    Special Dosimetry                      5       3        1    0            2        6          3      1         0        2    1              1
 77332    Treatment Device: S                    0       0        0    0            0        0          0      0         0        0    0              0
 77333    Treatment Device: I                    0       0        0    0            0        0          0      0         0        0    0              0
 77334    Treatment Device: C                   50      38       67   58           57       44         28     31        38       39   28             23
 77336    Physics Consultation                  68      66       74   64           78       88         59     79        78       98   75             66
 77338    MLC for IMRT                          10      11        9    6           14       12         12     16        15       16    8              8
 77370    Special Phys Consult                   0       0        0    0            1        1          1      0         0        0    0              0
 77372   SRS Treatment                           0       0        0    0            0        0          0      0         0        0    0              0
 77373   SBRT Stereotactic Treatment             0       0        0    0            0        0          0      0         0        0    0              0
 77387   Guidance for Localization               0       0        0    0            0        0          0      0         0        0   28             30
 77417    Port Films                             4       2        1   20            3        1          0      2         2        2    1              0
 77427    Weekly Treatment: 5                   71      67       76   61           79       83         59     76        77       91   71             68
 77431   Short Course Treatment <2               0       0        0    0            0        0          0      0         0        0    0              0
 77432   SRS Management                          0       0        0    0            0        0          0      0         0        0    0              0
 77435   SBRT Management                         0       0        0    0            0        0          0      0         0        0    0              0
 77470    Special Tx Procedure                   4       2        7    4            4        2          2      2         6        4    5              4
 96372    SQIM Tx, Prophy, Dx                    0       0        0    0            0        0          0      0         0        0    0              0
 99201    New Patient Visit: 1                   0       0        0    0            0        0          0      0         0        0    0              0
 99202    New Patient Visit: 2                   0       0        0    0            0        0          0      0         0        0    0              0
 99203    New Patient Visit: 3                   0       0        0    0            0        0          0      0         0        0    0              0
 99204    New Patient Visit: 4                   0       0        1    0            0        0          0      0         0        0    0              0
 99205    New Patient Visit: 5                  10      15       20   11           21       16         12      7        15       13   11              5
 99211    Follow up visit: 1                    17      23       17   18           10       17          9      4         0       13   15             11
 99212    Follow up visit: 2                     9       7        2    7            4        9         18     10        14       18   11              7
 99213    Follow up visit: 3                    17      14       13   10            6       17          2      2         0        6    0              0
 99214    Follow up visit: 4                     0       0        0    0            0        0          0      0         0        1    0              0
 99215    Follow up visit: 5                     0       0        0    0            0        0          1      0         0        0    0              0
 99221    Init Pat Care: Low                     0       0        0    0            0        0          0      0         0        0    0              0
 99222    Init Pat Care: Moder                   0       0        0    0            0        0          0      0         0        0    0              0
 99223    Init Pat Care: High                    0       0        0    0            0        0          0      0         0        0    0              0
 99231   Subsequent Patient Care: Low            0       0        0    0            0        0          0      0         0        0    0              0
 99232   Subsequent Patient Care: Moder          0       0        0    0            0        0          0      0         0        0    0              0
 99244    Outpatient Cons: 4                     0       0        0    0            0        0          0      0         0        0    0              0
 99245    Outpatient Cons: 5                     0       0        0    0            0        0          0      0         0        0    0              0
 99253   Consult - Inpatient                     0       0        0    0            0        0          0      0         0        0    0              0
G6012     Dly Tx C 6                            20      41       45   35           36      104         29      3        43       39   45             37
G6013     Dly Tx C 11                          149      63       50   86          126       96         59     37        53       77   20             26
G6015     IMRT Delivery                        193     237      313 220           212      240        199    355       312      353 343             250
 J9217   Lupron                                  0       0        0    0            0        0          0      0         0        0    0              0
                                              1220    1067     1321 1035         1254     1324        940   1182      1234     1443 1188            884
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                                                                     Apr-2




                                                                                                                  Sep-2
                                                   Feb-2
CPT Description

    New Consults                             10       15       21      11        21       16        12       7        15       13     11           5
    Average Pts Treated & billed             17       17       18      16        18       20        14      17        19       23     20          18
    IMRT Treatments                         193      237      313     220       212      240       199     355       312      353    343         250
    3D Treatments                           169      104       95     121       162      200        88      40        96      116     65          63
    Total Treatments                        362      341      408     341       374      440       287     395       408      469    408         313
                                                       Case 22-56501-pmb                             Doc 239-1
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                                                                         Curepoint Cancer Center
                                                                         Dublin, GA
                                                                         Lockbox Detail Report
                                                                           December-22



                                                                                              Credit card
                 Deposit                  Lockbox          Medicare      Commercial ACH                       Total Deposits     MSQ Posted      2406        UF Posted       Difference   Notes / Weekly Total
                                                                                              payments
                              12/1/2022      220.99            951.55             11,796.86          100.00          13,069.40         320.99                    12,748.41            -
                              12/2/2022      170.83            872.61             17,182.18           61.43          18,287.05         130.83                    18,156.22            -
                              12/3/2022                                                                                    -                                                          -
                              12/4/2022                                                                                    -                                                          -
                              12/5/2022      700.37           1,612.77             8,627.38                          10,940.52         152.79                    10,787.73            -
                              12/6/2022                                            6,678.58        2,574.91           9,253.49         100.00                     9,153.49            -
                              12/7/2022                        351.90              6,826.37        3,600.00          10,778.27         100.00                    10,678.27            -
                              12/8/2022                                           17,355.54                          17,355.54                                   17,355.54            -
                              12/9/2022                                           43,297.41                          43,297.41                                   43,297.41            -
                             12/10/2022                                                                                    -                                                          -
                             12/11/2022                                                                                    -                                                          -
                             12/12/2022     4,083.13          2,006.58             1,097.47                           7,187.18          40.00                     7,147.18            -
                             12/13/2022                         221.77             6,914.04          600.00           7,735.81                                    7,735.81            -
                             12/14/2022       69.50             703.80             5,015.44        1,138.18           6,926.92                                    6,926.92            -
                             12/15/2022      258.83           1,055.27            22,136.73           56.21          23,507.04                                   23,507.04            -
                             12/16/2022                       1,265.37            29,500.17                          30,765.54                                   30,765.54            -
                             12/17/2022                                                                                    -                                                          -
                             12/18/2022                                                                                    -                                                          -
                             12/19/2022                        351.90              2,863.79           30.00           3,245.69                                    3,245.69            -
                             12/20/2022      574.36            908.97              5,351.82                           6,835.15                                    6,835.15            -
                             12/21/2022                        703.80              2,393.32                           3,097.12                    3,097.12                            -
                             12/22/2022                        872.61             19,181.22                          20,053.83                   20,053.83                            -
                             12/23/2022                                           38,426.26           45.00          38,471.26                   38,471.26                            -
                             12/24/2022                                                                                    -                                                          -
                             12/25/2022                                                                                    -                                                          -
Bank Holiday               12/26/2022                                                                                      -                                                          -
                             12/27/2022      303.40           4,610.75             2,663.74        6,327.09          13,904.98                   13,904.98                            -
                             12/28/2022                       1,232.28               779.40        1,035.71           3,047.39                    3,047.39                            -
                             12/29/2022       573.78            966.13             2,942.31        6,000.60          10,482.82                   10,482.82                            -
                             12/30/2022     8,021.45                                                                  8,021.45        7,478.91      542.54                            -
                             12/31/2022                                                                                    -                                                          -
Totals                                     14,976.64         18,688.06           251,030.03       21,569.13         306,263.86        8,323.52   89,599.94      208,340.40            -

Total Lockbox                                          $     14,976.64
Medicare                                               $     18,688.06
Commercial EFT                                         $    251,030.03
CC payments                                            $     21,569.13
Checks Rec'd at site
Non A/R                                                $           -
Total Deposits                                         $    306,263.86
Less non A/R                                           $           -
Total A/R Deposits                                     $    306,263.86

RBS System                                             $    306,263.86
                                                                   -
Difference to reconcile                                $          0.00



Unreconciled                                                      0.00
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                                  Curepoint Cancer Center
                                  Dublin, GA
                                  Rollforward Report
                                  For Month Ending December 2022

                                                    Beginning        Gross
          Payer Class              % of charges      Balance        Charges         Payments       Adjustments         Ending Balance
Commercial                                   28%       142,021.59      346,879.00     180,491.31          211,445.25         96,964.03
Medicaid                                     12%        20,756.74      145,927.00      23,276.98          124,809.46         18,597.30
Medicare + Medicare Replacement              60%       141,357.42      741,469.00      96,096.11          636,587.17        150,143.14
Patient Direct + Self Pay                     0%        87,698.68             -         6,399.46           37,974.76         43,324.46
Totals                                   100.00%       391,834.43    1,234,275.00     306,263.86        1,010,816.64        309,028.93
                                                  Case 22-56501-pmb         Doc 239-1
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                                                                      Curepoint Cancer Center
                                                                      Dublin, GA
                                                                      RVU
                                                                      2022


                                                                                                                                                                                                    `
                                                                           Nov-22              Dec-22                     Nov-22                  Dec-22                 Dec-22
                                                                          Randolph            Randolph                    Williams                Williams           Practice Totals
                                                                                  Work
                                                             Work                                       Work RVU                Work RVU                Work RVU                 Work RVU
   CPT                                Description                        Qty      RVU       Qty                     Qty                     Qty                      Qty
                                                           RVU/Unit                                      Total                   Total                   Total                    Total
                                                                                  Total
77014       CT Guidance                                        0.85          401 340.85           252       214.2           0           0           6          5.1         258       219.3
77261       Clinical Treatment Planning: Simple                 1.3            0        0           0           0           0           0           0            0           0           0
77262       Clinical Treatment Planning: Intermediate             2            0        0           0           0           0           0           0            0           0           0
77263       Clinical Treatment Planning: Complex               3.14           11   34.54            7       21.98           0           0           0            0           7       21.98
77280       Simulation: Simple                                  0.7           13     9.1           11         7.7           0           0           0            0          11         7.7
77290       Simulation: Complex                                1.56            3    4.68            1        1.56           0           0           0            0           1        1.56
77293       Resp Motion Manangement Simulation                    2            0        0           0           0           0           0           0            0           0           0
77295       Simulation 3 Dimensional                           4.29            3   12.87            2        8.58           0           0           0            0           2        8.58
77300       Basic Radiation Dosimetry Calculation              0.62          100      62           50          31           0           0           0            0          50          31
77301       IMRT Planning                                      7.99            8   63.92            6       47.94           0           0           0            0           6       47.94
77306       Isodose Plan: Simple                                1.4            0        0           0           0           0           0           0            0           0           0
77307       Isodose Plan: Complex                               2.9            0        0           0           0           0           0           0            0           0           0
77321       Special Therapy Port Plan                          0.95            1    0.95            1        0.95           0           0           0            0           1        0.95
77331       Special Dosimetry (eg, TLD)                        0.87            1    0.87            1        0.87           0           0           0            0           1        0.87
77332       Treatment Devices: Simple                          0.45            0        0           0           0           0           0           0            0           0           0
77333       Treatment Devices: Intermediate                    0.75            0        0           0           0           0           0           0            0           0           0
77334       Treatment Devices: Complex                         1.15           28    32.2           22        25.3           0           0           0            0          22        25.3
77336       Continuing Medical Physics Consultation               0           75        0          65           0           0           0           0            0          65           0
77338       MLC Device                                         4.29            8   34.32            8       34.32           0           0           0            0           8       34.32
77370       Special Medical Physics Consultation                  0            0        0           0           0           0           0           0            0           0           0
77372       SRS Treatment                                         0            0        0           0           0           0           0           0            0           0           0
77373       SBRT Stereotactic Treatment                           0            0        0           0           0           0           0           0            0           0           0
77387       Guidance for Localization of Target Volume         0.85            0        0          30        25.5           0           0           0            0          30        25.5
77417       Port Verification Films                               0            1        0           0           0           0           0           0            0           0           0
77427       Weekly Treatment Management 5 Treatments           3.37           71 239.27            63      212.31           0           0           1         3.37          64      215.68
77431       Short Course Treatment Management                  1.81            0        0           0           0           0           0           0            0           0           0
77432       Stereotactic: Cerebral Lesions 1 Session           7.92            0        0           0           0           0           0           0            0           0           0
77435       SBRT Management                                   11.87            0        0           0           0           0           0           0            0           0           0
77470       Special Treatment Procedure                        2.03            5   10.15            4        8.12           0           0           0            0           4        8.12
96372       Ther/injection                                     0.17            0        0           0           0           0           0           0            0           0           0
99201       New Patient Visit: 1                               0.48            0        0           0           0           0           0           0            0           0           0
99202       New Patient Visit: 2                               0.93            0        0           0           0           0           0           0            0           0           0
99203       New Patient Visit: 3                                1.6            0        0           0           0           0           0           0            0           0           0
99204       New Patient Visit: 4                                2.6            0        0           0           0           0           0           0            0           0           0
99205       New Patient Visit: 5                                3.5           10      35            2           7           0           0           2            7           4          14
99211       Follow up visit: 1                                 0.18           14    2.52           10         1.8           0           0           0            0          10         1.8
99212       Follow-up Visit: 2                                  0.7            8     5.6            6         4.2           2         1.4           0            0           6         4.2
99213       Follow-up Visit: 3                                  1.3            0        0           0           0           0           0           0            0           0           0
99214       Follow-up Visit: 4                                 1.92            0        0           0           0           0           0           0            0           0           0
99215       Follow-up Visit: 5                                  2.8            0        0           0           0           0           0           0            0           0           0
99221       Initial Patient Care: Low                          1.92            0        0           0           0           0           0           0            0           0           0
99222       Initial Patient Care: Moderate                     2.61            0        0           0           0           0           0           0            0           0           0
99223       Initial Patient Care: High                         3.86            0        0           0           0           0           0           0            0           0           0
99231       Subsequent Patient Care: Low                       0.76            0        0           0           0           0           0           0            0           0           0
99232       Subsequent Patient Care: Moderate                  1.39            0        0           0           0           0           0           0            0           0           0
99253       Consult - Inpatient                                 1.5            0        0           0           0           0           0           0            0           0           0
99244       Outpatient consult: 4                              3.02           0        0            0          0            0          0            0           0            0          0
99245       Outpatient consult: 5                              3.77           0        0            0          0            0          0            0           0            0          0
G6012       Daily Tx                                              0          45        0           37          0            0          0            0           0           37          0
G6013       Daily Tx                                              0          20        0           26          0            0          0            0           0           26          0
G6015       IMRT Delivery Sinlge or Mult Fields                   0         343        0          247          0            0          0            0           0          247          0
J9217       Lupron                                                0           0        0            0          0            0          0            0           0            0          0



Total RVU                                                                  1169    888.84         851      653.33           2         1.4           9        15.47         860       668.8
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                                                         Curepoint Cancer Center
                                                         Dublin, GA
                                                         Aging Review Over 90 Days
                                                         December 2022




                     Aging Overview
                                      $    309,028.93 End-of-Month Aging
                                      $    221,056.10 Current - 90
                                      $        87,973 Outstanding AR greater than 91 days


                Aging Summary Detail
                                      $        62,067 Additional Anticipated Reimbursement
                                      $        25,906 Potential Bad Debt
                                      $        87,973

                                                                                                                  Anticipated
                 Payer                    Amount                                         Status                 Reimbursement          Potential BD
Anthem BC of GA                       $        10,133    Recoupments initiated, claims reprocessing             $          10,133
Self pay & patient direct             $        25,906    Protocol being followed.                                                  $          25,906
Ambetter                              $         7,208    Claims being reprocessed.                              $           7,208
Humana                                $        (1,586)   Recoupments initiated.                                 $          (1,586)
UHC                                   $          (158)   Recoupments initiated.                                 $            (158)
VA                                    $           (66)   Recoupments initiated.                                 $             (66)
Medicare                              $           215    Recoupments initiated.                                 $             215
Medicaid                              $        23,013    Claims resubmitted                                     $          23,013
Health Cost Solutions                 $        22,243    Slow payer, authorization issue                        $          22,243
Other                                 $         1,064    Slow payer                                             $           1,064
                                      $        87,973                                                           $          62,067 $           25,906
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                     Curepoint Cancer Center
                     Dublin, GA
                     Monthly Revenue and Cash by Year




                        2022             2022          2021              2021          2020             2020                              2019                           2018
             Month     Revenue        Collections     Revenue         Collections     Revenue        Collections     2019 Revenue      Collections 2018 Revenue       Collections

January                  417,723.13      310,682.11     379,856.75       306,153.33    326,466.63       275,415.27       306,586.03      198,172.97
February                 303,611.89      296,265.77     349,245.17       409,336.20    262,355.56       295,369.76       236,643.96      144,890.25
March                    369,422.54      370,439.09     305,175.63       370,774.15    373,966.30       272,878.38       324,675.74      401,103.48
April                    304,417.76      290,518.60     293,180.75       338,531.22    317,891.67       259,175.98       441,575.89      522,704.88
May                      350,433.70      279,818.63     244,559.93       277,017.46    256,866.10       283,443.33       223,340.97      206,807.02
June                     376,376.61      263,320.71     312,437.19       224,070.14    308,444.82       289,865.55       148,877.72      149,438.18     220,395.19        6,435.25
July                     178,576.07      297,893.95     200,429.75       158,520.62    218,172.58       274,469.92       242,635.52      168,478.37     448,603.02      273,067.53
August                   366,679.41      334,953.88     414,914.07       317,580.44    213,704.95       173,135.04       443,034.73      419,576.11     462,099.11      216,746.76
September                384,420.31      435,531.80     361,373.85       463,704.76    153,886.94       145,858.64       293,948.98      375,140.36     171,972.15      269,099.98
October                  397,863.16      445,269.54     299,843.67       347,252.00    339,882.32       187,986.34       257,575.76      279,041.39     219,345.08      223,747.00
November                 363,152.31      377,752.88     195,687.85       293,878.62    313,237.11       344,602.35       335,184.91      306,633.28     144,701.56      205,586.15
December                 237,727.56      306,263.86     271,039.39       227,539.51    263,497.27       311,227.01       399,322.01      387,607.48     213,319.36      207,924.06

Totals                 4,050,404.45    4,008,710.82    3,627,744.00    3,734,358.45   3,348,372.25    3,113,427.57      3,653,402.22    3,559,593.77   1,880,435.47    1,402,606.73
Monthly Average          337,533.70      334,059.24      302,312.00      311,196.54     279,031.02      259,452.30        304,450.19      296,632.81     268,633.64      200,372.39
                             Case 22-56501-pmb     Doc 239-2
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WĂǇŵĞŶƚƐƚŽ/ŶƐŝĚĞƌƐ
ĞĐͲϮϮ

                ZĞĐŝƉŝĞŶƚ                ĂƚĞŽĨWŵƚ              ŵŽƵŶƚ                                  ĐĐŽƵŶƚhƐĞĚ                           ZĞĂƐŽŶĨŽƌWŵƚ
DŝĐŚĂĞůDŝůĞƐ                                ϭϮͬϭϱͬϮϬϮϮ    ϯ͕ϱϰϴ͘ϰϭ   ƵƌĞƉŽŝŶƚŚĞĐŬŝŶŐΎϵϱϰϲ͖ǆĨĞƌƚŽĐůŝƉƐĞ^ƚĂĨĨŝŶŐ>>   WĂǇƌŽůů
DŝĐŚĂĞůDŝůĞƐ                                 ϭϮͬϭͬϮϬϮϮ    Ϯ͕ϲϮϯ͘ϭϯ   ƵƌĞƉŽŝŶƚŚĞĐŬŝŶŐΎϵϱϰϲ͖ǆĨĞƌƚŽĐůŝƉƐĞ^ƚĂĨĨŝŶŐ>>   WĂǇƌŽůů
:ĂŵŝůĂĂĚĂďŚŽǇ                              ϭϮͬϭϱͬϮϬϮϮ    ϱ͕ϬϬϴ͘ϭϰ   ƵƌĞƉŽŝŶƚŚĞĐŬŝŶŐΎϵϱϰϲ͖ǆĨĞƌƚŽĐůŝƉƐĞ^ƚĂĨĨŝŶŐ>>   WĂǇƌŽůů
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hŶŝƚĞĚ,ĞĂůƚŚĐĂƌĞ
  DŝĐŚĂĞůDŝůĞƐ                              ϭϮͬϭϮͬϮϬϮϮ ϴϴϰ͘Ϯϵ ƵƌĞƉŽŝŶƚŚĞĐŬŝŶŐΎϵϱϰϲ͖ǆĨĞƌƚŽĐůŝƉƐĞ^ƚĂĨĨŝŶŐ>>      ŵƉůŽǇĞĞ/ŶƐƵƌĂŶĐĞ
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Account Numb Post Date   Description                                                                                     Debit         Credit
       9546 12/30/2022   MONTHLY FEE            2005 1230 CUREPOINT CUREPOINT                                                 499.00
       9546 12/29/2022   SPECTRUM SPECTRUM                8726                                                                343.57
       9546 12/29/2022   GPC GPC EFT                 5057DUB                                                                  307.32
       9546 12/29/2022   REF        0804L FUNDS TRANSFER TO DEP      9926 FROM ONLINE FUNDS TRANSFER VIA                  25,531.48
       9546 12/29/2022   REF        0803L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               25,531.48
       9546 12/28/2022   SPECTRUM SPECTRUM                2432                                                                386.45
       9546 12/27/2022   NORCAL MUT INS INSURANCE                      0397                                                 5,041.00
       9546 12/27/2022   REF        0706L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                3,000.00
       9546 12/22/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/22/2022   RADIATION BUSINESS OLUTIONSREF: CUREP OINT PAYMENT; OCTO RADIATION BUSINESS SOLUTIONS             41,561.73
       9546 12/22/2022   REF        1037L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               40,000.00
       9546 12/22/2022   REF        0804L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                5,000.00
       9546 12/21/2022   PITNEY BOWES POSTAGE                        2286                                                    100.00
       9546 12/21/2022   CALL EXPERTS CALL EXPER                             AL2U                                            140.40
       9546 12/21/2022   REF        0627L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                 500.00
       9546 12/20/2022   NO AMER BK CO AUTH PAYME                        D744            D744                               1,706.68
       9546 12/19/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/19/2022   MEDICAL AND PHARMA LEGALCUREPOINT P HYSICIANS COVERAGE MEDICAL AND PHARMA CY LEGAL                20,000.00
       9546 12/19/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/19/2022   ERICH RANDOLPHWELL FARGO BANK, NA ERICH RANDOLPH                                                  20,000.00
       9546 12/19/2022   REF        0915L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               40,000.00
       9546 12/15/2022   REF        0742L FUNDS TRANSFER TO DEP      9926 FROM ONLINE FUNDS TRANSFER VIA                   26,557.92
       9546 12/15/2022   REF        0741L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               25,000.00
       9546 12/14/2022   DOMESTIC WIRE OUT                                                                                     30.00
       9546 12/14/2022   SOLIC CAPITAL ADVI RS LLCINVOICE NO 3 617 AND 3665 SOLIC CAPITAL ADVI SORS LLC                    50,000.00
       9546 12/14/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/14/2022   ELEKTA INC DEPOSIT Y ACCOUNTINVOICES           3756 AND 30 ELEKTA INC DEPOSIT ORY ACCOUNT         25,698.14
       9546 12/14/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/14/2022   ALPHA MEDICAL PHYS S LLCINVOICE D215 9 AND D2158 ALPHA MEDICAL PHYS ICS LLC                       20,300.00
       9546 12/14/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/14/2022   MAJESTIC INTERNATI AL ELECTRONICCUREP OINT PAYMENT MAJESTIC INTERNATI ONAL ELECTRONIC              3,009.46
       9546 12/14/2022   REF        1359L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                5,000.00
       9546 12/14/2022   REF        1024L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               96,000.00
       9546 12/12/2022   REF        0639L FUNDS TRANSFER TO DEP      9926 FROM ONLINE FUNDS TRANSFER VIA                    1,600.26
       9546 12/12/2022   REF        0637L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                2,000.00
       9546 12/09/2022   AUTO OWNERS INS WEB PAY                         6680                                                 512.65
       9546 12/08/2022   PREMIER PROPERTI ACH                   1606                                                        2,500.00
       9546 12/08/2022   Pitney Purchase DIRECT DEB 1208 PBPurchasPwr PBPurchasPwr                                             56.83
       9546 12/07/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/07/2022   ROUNTREE LEITMAN K IN AND GEER LLCCUR EPOINT LLC COUNCIL ROUNTREE LEITMAN K LEIN AND GEER LLC     79,773.24
       9546 12/07/2022   PHN/FAX DOM OUT WI                                                                                   100.00
       9546 12/07/2022   CUREPOINT DUBLIN L CUREPOINT DUBLIN L LC                                                          17,000.00
       9546 12/07/2022   REF        1146L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                             100,000.00
       9546 12/06/2022   Infiniti Auto Loan              7656                                                                475.14
       9546 12/06/2022   REF        0611L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                                2,000.00
       9546 12/05/2022   TRANSFER TO CUREPOINT LLC ACCOUNT            8751 AT EXT BANK ABA #      1848                      1,771.61
       9546 12/05/2022   QUARTERLY FEE PAYMENT                 0000                                                         1,010.00
       9546 12/05/2022   QUARTERLY FEE PAYMENT                 0000                                                         1,010.00
       9546 12/01/2022   MONTHLY FEE            2009 1130 CUREPOINT CUREPOINT                                                 499.00
       9546 12/01/2022   REF        0815L FUNDS TRANSFER TO DEP      9926 FROM ONLINE FUNDS TRANSFER VIA                   25,969.08
       9546 12/01/2022   REF        0814L FUNDS TRANSFER FRM DEP       8431 FROM ONLINE FUNDS TRANSFER VIA                               25,969.08
                                                                                                                         374,190.96            -
                      Case 22-56501-pmb       Doc 239-3
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Account Number Post Date Check   Description                                                                       Debit      Credit
       7944     12/30/2022 93    ECP INCLEARING CHECK                                                                1,110.33
       7944     12/30/2022       OFFICE DEPOT PAYMENT                  7396                                            767.13
       7944     12/29/2022 94    ECP INCLEARING CHECK                                                                  528.00
       7944     12/29/2022 92    ECP INCLEARING CHECK                                                                1,279.73
       7944     12/29/2022       GPC GPC EFT              5028DUB                                                      409.88
       7944     12/29/2022       REF     0916L FUNDS TRANSFER FRM DEP      8431 FROM ONLINE FUNDS TRANSFER VIA                 4,000.00
       7944     12/28/2022 91    ECP INCLEARING CHECK                                                                1,080.00
       7944     12/28/2022       STERICYCLE STERICYCLE                 8848                                             51.60
       7944     12/27/2022 90    ECP INCLEARING CHECK                                                                   41.41
       7944     12/21/2022       MEDICUSIT PURCHASE 1221 CUREPOINT CANCE CUREPOINT CANCE                             1,370.10
       7944     12/21/2022       REF     0800L FUNDS TRANSFER FRM DEP      8431 FROM ONLINE FUNDS TRANSFER VIA                 4,000.00
       7944     12/19/2022 88    ECP INCLEARING CHECK                                                                  148.50
       7944     12/19/2022 81    ECP INCLEARING CHECK                                                                  330.00
       7944     12/19/2022       STERICYCLE STERICYCLE                 8848                                             51.60
       7944     12/15/2022 80    ECP INCLEARING CHECK                                                                   73.00
       7944     12/15/2022 87    ECP INCLEARING CHECK                                                                  353.00
       7944     12/15/2022 86    ECP INCLEARING CHECK                                                                4,811.30
       7944     12/15/2022       LEASE DIRECT WEB PAY                   7602                                           303.32
       7944     12/14/2022 85    ECP INCLEARING CHECK                                                                1,289.00
       7944     12/13/2022 79    ECP INCLEARING CHECK                                                                   40.00
       7944     12/13/2022 83    ECP INCLEARING CHECK                                                                   49.45
       7944     12/13/2022 84    ECP INCLEARING CHECK                                                                   96.79
       7944     12/13/2022 78    ECP INCLEARING CHECK                                                                  427.50
       7944     12/13/2022 89    ECP INCLEARING CHECK                                                                6,375.00
       7944     12/12/2022 82    ECP INCLEARING CHECK                                                                   83.00
       7944     12/12/2022       MEDICUSIT PURCHASE 1212 CUREPOINT CANCE CUREPOINT CANCE                             4,502.40
       7944     12/12/2022       REF     0637L FUNDS TRANSFER FRM DEP      8431 FROM ONLINE FUNDS TRANSFER VIA                10,000.00
       7944     12/09/2022       REF     0639L FUNDS TRANSFER FRM DEP      8431 FROM ONLINE FUNDS TRANSFER VIA                10,000.00
       7944     12/07/2022       AFCO AFCO                        1687                                               1,378.47
       7944     12/07/2022       OFFICE DEPOT AUTO PYMT                  0460                                           55.05
       7944     12/02/2022       AMTRUST NA PAYMENT                    1290                                            688.50
       7944     12/01/2022 76    ECP INCLEARING CHECK                                                                1,056.68
                                                                                                                    28,750.74        -
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Account Numb Post Date Check   Description                                                                Debit        Credit
       8431 12/01/2022         BLUE CROSS GA5F HCCLAIMPMT                           1032                                  1,968.80
       8431 12/01/2022         GA DEPT OF COMMU HCCLAIMPMT                          7780A                                 1,329.48
       8431 12/01/2022         MAC PTB ALGATN HCCLAIMPMT                          0674                                      951.55
       8431 12/01/2022         MERCHANT SERVICE MERCH DEP                     1162                                          100.00
       8431 12/01/2022         REF 3350814L FUNDS TRANSFER TO DEP   9546 FROM ONLINE FUNDS TRANSFER VIA    25,969.08
       8431 12/01/2022         UNITEDHEALTHCARE HCCLAIMPMT                                       9027                    6,122.20
       8431 12/01/2022         UnitedHealthcare HCCLAIMPMT                                9027                           2,376.38
       8431 12/02/2022         AARP Supplementa HCCLAIMPMT                                   9027                           42.39
       8431 12/02/2022         BLUE CROSS GA5C HCCLAIMPMT                           5957                                11,790.56
       8431 12/02/2022         BLUE CROSS GA5C HCCLAIMPMT                           5958                                 4,744.59
       8431 12/02/2022         MAC PTB ALGATN HCCLAIMPMT                          0674                                     872.61
       8431 12/02/2022         MERCHANT SERVICE MERCH DEP                     1162                                          40.00
       8431 12/02/2022         MERCHANT SERVICE MERCH FEE                     1162                            426.18
       8431 12/02/2022         UnitedHealthcare HCCLAIMPMT                                9027                             604.64
       8431 12/05/2022         AETNA AS01 HCCLAIMPMT                               0674                                  1,119.50
       8431 12/05/2022         BLUE CROSS GA5F HCCLAIMPMT                           4390                                 2,468.06
       8431 12/05/2022         HUMANA GOVT BUSI HCCLAIMPMT                                       5356                       78.69
       8431 12/05/2022         MAC PTB ALGATN HCCLAIMPMT                          0674                                   1,612.77
       8431 12/05/2022         Optum VA CCN Reg HCCLAIMPMT                                     9027                      4,961.13
       8431 12/06/2022         AETNA AS01 HCCLAIMPMT                               0674                                    313.02
       8431 12/06/2022         BLUE CROSS GA5F HCCLAIMPMT                           1858                                    55.39
       8431 12/06/2022         HUMANA GOVT BUSI HCCLAIMPMT                                       5381                      554.04
       8431 12/06/2022         HUMANA INS CO HCCLAIMPMT                           5309                                   2,703.58
       8431 12/06/2022         MERCHANT SERVICE MERCH DEP                     1162                                         100.00
       8431 12/06/2022         Optum VA CCN Reg HCCLAIMPMT                                     9027                      2,724.30
       8431 12/06/2022         REF 3400611L FUNDS TRANSFER TO DEP   9546 FROM ONLINE FUNDS TRANSFER VIA     2,000.00
       8431 12/06/2022         UnitedHealthcare HCCLAIMPMT                                9027                             328.25
       8431 12/06/2022         UNLIMITED SYSTEM TRANSFER                                I4P4                                20.61
       8431 12/07/2022         AETNA AS01 HCCLAIMPMT                               0674                                    132.05
       8431 12/07/2022         AETNA AS01 HCCLAIMPMT                               0674                                    806.48
       8431 12/07/2022         Amerigroup GA5C HCCLAIMPMT                        5254                                       18.33
       8431 12/07/2022         HUMANA INS CO HCCLAIMPMT                           5309                                   1,097.12
       8431 12/07/2022         MAC PTB ALGATN HCCLAIMPMT                          0674                                     351.90
       8431 12/07/2022         MERCHANT SERVICE MERCH DEP                     1162                                       3,600.00
       8431 12/07/2022         Optum VA CCN Reg HCCLAIMPMT                                     9027                      4,425.99
       8431 12/07/2022         REF 3411146L FUNDS TRANSFER TO DEP   9546 FROM ONLINE FUNDS TRANSFER VIA   100,000.00
       8431 12/07/2022         UnitedHealthcare HCCLAIMPMT                                9027                             346.40
       8431 12/08/2022         GA DEPT OF COMMU HCCLAIMPMT                          7780A                                2,670.93
       8431 12/08/2022         HUMANA GOVT BUSI HCCLAIMPMT                                       9267                      154.63
       8431 12/08/2022         HUMANA INS CO HCCLAIMPMT                           5309                                   1,733.26
       8431 12/08/2022         Optum VA CCN Reg HCCLAIMPMT                                     9027                      1,767.28
       8431 12/08/2022         UNITEDHEALTHCARE HCCLAIMPMT                                       9027                   10,849.42
       8431 12/08/2022         UnitedHealthcare HCCLAIMPMT                                9027                             180.02
       8431 12/08/2022         UNLIMITED SYSTEM TRANSFER                                 H3K2                            2,076.28
       8431 12/09/2022         AETNA AS01 HCCLAIMPMT                               0674                                    313.02
       8431 12/09/2022         BLUE CROSS GA5C HCCLAIMPMT                           3715                                30,683.39
       8431 12/09/2022         BLUE CROSS GA5C HCCLAIMPMT                           3716                                 6,406.84
       8431 12/09/2022         BLUE CROSS GA5F HCCLAIMPMT                           3714                                   171.95
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       7951     12/29/2022   2168    LOCK BOX DEPOSIT                               573.78
       7951     12/23/2022           ANALYSIS ACTIVITY FOR 11/22       364.99
       7951     12/23/2022   2168    LOCK BOX DEPOSIT                               303.40
       7951     12/21/2022   2168    LOCK BOX DEPOSIT                               574.36   1,451.54
       7951     12/15/2022   2168    LOCK BOX DEPOSIT                               258.83
       7951     12/14/2022   2168    LOCK BOX DEPOSIT                                69.50
       7951     12/12/2022   2168    LOCK BOX DEPOSIT                                40.00
       7951     12/05/2022   2168    LOCK BOX DEPOSIT                               700.37
       7951     12/02/2022   2168    LOCK BOX DEPOSIT                               170.83
       7951     12/01/2022   2168    LOCK BOX DEPOSIT                               220.99
                                                                       364.99     2,912.06
                                                                   403,781.95   287,806.32
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